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CERTIFICATION PURSUANT TO
THE FEDERAL SECURITIES LAWS

I, Warren J. Schott, on behalf of San Antonio Fire & Police Pension Fund (“San
Antonio F&P”), hereby certify, as to the claims asserted under the federal securities laws,
that:

1. Iam the Executive Director of San Antonio F&P. I have reviewed the complaint
and authorize its filing.

2. San Antonio F&P did not purchase or sell the securities that are the subject of this
action at the direction of counsel or in order to participate in any action arising
under the federal securities laws.

3. San Antonio F&P is willing to serve as a representative party on behalf of the
Class, including providing testimony at deposition and trial, if necessary.

4. San Antonio F&P’s transactions in the Dole Food Company securities that are the
subject of this action are set forth in the chart attached hereto.

5. San Antonio F&P has not sought to serve as a lead plaintiff or representative party
on behalf of a class in any action under the federal securities laws filed during the
three-year period preceding the date of this Certification.

6. San Antonio F&P will not accept any payment for serving as a representative
party on behalf of the Class beyond San Antonio F&P’s pro rata share of any
recovery, except such reasonable costs and expenses (including lost wages)
directly relating to the representation of the Class, as ordered or approved by the
Court.

I declare net penalty of perjury that the foregoing is true and correct. Executed

this 26-*day of November, 2015. LO
WJ.

Warren J. Schott
Executive Director
San Antonio Fire & Police Pension Fund

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San Antonio Fire & Police Pension Fund
Transactions in Dole Food Company

Transaction Date Shares Price

Sales 2/28/2013 (3,100) 11.1429

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